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                In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                          Case No. 13-868V
                                      Filed: September 4, 2015


* * * * * * *            *     *   *   *   *   *   *
BERNARD ZYK,                                       *       UNPUBLISHED
                                                   *
                 Petitioner,                       *
                                                   *
v.                                                 *       Special Master Dorsey
                                                   *
SECRETARY OF HEALTH                                *       Attorneys’ Fees and Costs;
AND HUMAN SERVICES,                                *       Reasonable Amount Requested to which
                                                   *       Respondent does not Object.
                 Respondent.                       *
                                                   *
*    * *    *    *   *   *     *   *   *   *   *   *

Clifford J. Shoemaker, Shoemaker and Associates, Vienna, VA, for petitioner.
Glenn A. MacLeod, United States Department of Justice, Washington, DC, for respondent.

                         ATTORNEYS’ FEES AND COSTS DECISION1

        On November 1, 2013, Bernard Zyk (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that as a result of receiving an influenza (“flu”) vaccine on or about November 18, 2011, he
suffered from Guillian-Barré Syndrome (“GBS”). See Petition at ¶ 5, 6. On May 7, 2015, the


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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undersigned entered a decision awarding compensation to petitioner based on a joint stipulation
filed by the parties.

        On September 3, 2015, the parties filed a stipulation concerning attorneys’ fees and costs.
The parties stipulate to a total award of attorneys’ fees and costs in the amount of $23,250.00. In
accordance with General Order #9, petitioner’s counsel represents that petitioner incurred costs in
pursuit of this claim in the amount of $358.19.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of petitioner’s request and the lack of any objection by
respondent, the undersigned GRANTS the request for approval and payment of attorneys’ fees
and costs.

       Accordingly, an award should be made as follows:

       1) in the form of a check jointly payable to petitioner and to petitioner’s attorney,
          Clifford Shoemaker, of the law firm Shoemaker & Associates, in the amount of
          $23,250.00; and

       2) in the form of a check payable to petitioner only in the amount of $358.19.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.

                                              s/Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                2
